                Case 1:17-cv-01894-RJS Document 99 Filed 11/13/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOSEPH HAYDEN,

                                Plaintiff,

          -v-
                                                               No. 17-cv-1894 (RJS)
 CITY OF NEW YORK, NYPD OFFICER                                      ORDER
 AHMED ABDALLA, and NYPD OFFICER
 ADAM KOTOWSKI,

                                Defendants.

RICHARD J. SULLIVAN, Circuit Judge:

         In response to the Court’s latest order (Doc. No. 96), the parties conferred with the Court and

were unable to select a mutually agreed-upon date from the proposed weeks in December 2020 and

February 2021. Accordingly, IT IS HEREBY ORDERED THAT the parties are directed to submit a

joint letter by November 15, 2020 indicating their availability for a jury trial during the weeks of

February 16, 2021, February 22, 2021, March 18, 2021, March 22, 2021, April 5, 2021, April 12, 2021,

and April 19, 2021.

SO ORDERED.

Dated:           November 13. 2020
                 New York, New York
                                                     ___________________________
                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
